Case 3:24-bk-00496-BAJ Doc134 Filed 06/17/24 Pageiof3

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

GENIE INVESTMENTS, NV, INC.

CASE NO.:3:24-bk-00496-BAJ
Debtor(s).

DEBTOR’S OBJECTION TO CLAIM 5 OF

CHARLES BLAKE STRINGER/NUTRA ACRES, LLC

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of the Court at 300
N. Hogan Street, Suite 3-150, Jacksonville, Florida 32202, and serve a copy on the movant’s attorney Bryan K.
Mickler, 5452 Arlington Expressway, Jacksonville, Florida 32211 within 30 days from the dare of the attached proof
of service, plus an additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a hearing dated
or the Court will consider the response and grant or dent the relief requested in this paper without hearing. If you do
not file a response within the time permitted, the Court will consider that you do not oppose the relief requested in the
paper, and the Court may grant or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. Ifthe paper is
an objection to your claim in this bankruptcy case, your claim may be reduced, modified, or eliminated if you do not
timely file and serve a response.

The Debtor objects to Claim 5 filed by Charles Blake Stringer/Nutra Acres, LLC (Acct No.:

“0000”). The Debtor would show that the original claim filed by this creditor was in the amount of
$400,000.00. That amount matched the documentation attached to the Proof of Claim as the
amount which was provided by the creditor to Genie as part of the loan process.

The amended proof of claim sets forth an amount of $14,247,750.00 for “failure to provide
loan under contract”. The creditor is not entitled to any amount beyond the pre-petition payments
made to Genie as provided for in the loan documents. This creditor has committed fraud on the
court by the filing of an obviously false claim.

The Debtor would show that the claim amount should be allowed at $400,000.00.
Case 3:24-bk-00496-BAJ Doc134 Filed 06/17/24 Page 2of3

PROOF OF SERVICE

Bryan K. Mickler, under penalty of perjury, states that a copy of the foregoing Objection was
furnished by either U.S. Mail, postage prepaid or CM/ECF electronic filing to:

United States Trustee Office
400 W. Washington Street, Suite 1100
Orlando, Florida 32801

which is the place they regularly conduct their business; and to:

Charles Blake Stringer/Nutra Acres, LLC

c/o Charles Blake Stringer, Owner/Manager/Managing Agent
149 South Shore Dr.

Amarillo, TX 79118

which is the place he regularly conducts his business.

ei wth

By:_/s/ Bryan K. Mickle

BRYAN K. MIC R
Attomey for Debtor
5452 Arlington Expressway
Jacksonville, FL 32211
(904) 725-0822/FAX: 725-0855
Florida Bar No. 091790
Case 3:24-bk-00496-BAJ Doc134 Filed 06/17/24 Page 3of3

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GENIE INVESTMENTS NV, INC.
CASE NO.:3:24-bk-00496-BAJ
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DECLARATION CONCERNING DEBTOR’S OBJECTION
TO CLAIM 5 OF CHARLES BLAKE STRINGER/NUTRA ACRES, LLC

I declare under penalty of perjury that the foregoing is true and correct.

Executed on: 06-17-2024

Signature: eke Wechal Cohan

John Michel Cohan, as Director

